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AO 440 (Rev. 06/] 2) Summons in a Civil Action (Page 2)

 Civil Action No. 1:23-CV-00615-UNA

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, ifany)      Kristina Abramowicz
was received by me on (date)                       06/07/2023

           □ I personally served the summons on the individual at (place)
                                                                                  on (date)                            ; or

           ^ I left the summons at the individual’s residence or usual place of abode with (name) Collin Abramowicz

          (Husband)                                                , a person of suitable age and discretion who resides there,
           on (date)         06/08/2023             > and mailed a copy to the individual’s last known address; or

           □ I served the summons on (name ofindividual)                                                                        , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                  on (date)                            ; or

           □ 1 returned the summons unexecuted because                                                                               ;or

           O Other (specify):




           My fees are S                            for travel and $                  for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



Date:           06/08/2023
                                                                                              Server’s signature


                                                                                              Adam Golden
                                                                                          Printed name and title

                                                                                      DM Professional Services
                                                                                      501 Silverside Rd, Ste 72
                                                                                        Wilmington DE 19809
                                                                                              Server's address


Additional information regarding attempted service, etc:
served at 8 Greer Dr, Newark DE 19702 @ 3:39pm
